Case 2:17-cV-O4712-.]HS Document 10 Filed 12/11/17 Page 1 of 3

UNlTED STATES DISTRICT COURT
EASTERN DISTRICT OF PENNSYLVANIA

 

ELLEN UMANSKY : CIVIL ACTION NO.: 2:17 -cv-4712
Plaintiff,
v.
MELTON INTERNATIONAL JURY TRIAL DEMANDED
TACKLE, INC., et al. :
Defendants.
CERTIFICATE OF SERVICE

 

I, Matthew B. Weisberg, Esquire, hereby certify that a Summons and First Amended
Complaint in Civil Action Were Served upon the following: Defendant Melton International
Tackle, Inc. via Certifled Mail 7013 1090 0001 7466 9297 on December 2, 2017, at 1375 S. State
College Boulevard, Anaheim, CA, 92806; Defendant Discover Financial Services d/b/a
Discover Bank via Certiiied Mail 7013 1090 000] 74 66 9310 on Decernber 4, 2017, at 2500 Lake
Cake Road, Riverswood, IL, 60015; Defendant Discover Financial Services, LLC, d/b/a
Discover Bank via Certified Mail 7013 1090 0001 7466 9327 on December 4, 2017, at 2500 Lake
Cake Road, Riverswood, IL, 60015.

Proof of said service is attached hereto. (See Exhibit A).

WEISBERG LAW

/s/ Matthew B. Weisberg
Matthew B. Weisberg, Esquire
Attorneyfor Plaintij”

Case 2:17-cV-O4712-.]HS Document 10 Filed 12/11/17 Page 2 of 3

EXHIBIT “A”

 
  

  

SENDER: (,Ol'rTPLETE "`Hr'$ SEi`-TVON

l Complete items 1, 2, and 3.
l Print your name and address on the reverse

Case 2:17-cv-O47

 

     
 
 
 

 

CC."/‘IPI,ETE THIS ."~`ECTION ON DEL!VERY

,'ei"it§"’m

 

 

so that we can return the card to you.

l Attaah this card to the back of the mailpleee,
or on the front if space permits

f
B. licewed_.by (Pn’n_red Name)

 

D°“°§'»°°"“»T»'

 

1. Article Addressed to:

ice j iormi\mw\ Tarc.i)€,_?i¢;
i‘;JEl\’SAS, §ivli"~ Ci)iie&(, bivé.

o. le delivery eddrem§ differerrrfrom mem 1') El Yes
if YES, enter dellveryaddress below: E| N'o

 

the`rm] 00 q’N>i>io

 

 

 

 

 

3. SSM¢S_TYPS npl-icmme Express®
l||ll||i| |i|||l|||||||v |||||l ||l|| ||l ||||||l||| DMWRMMW n Mi:ram
9590 9402 1758 6074 6976 12 EC°WdHWMW smuggler-h
Arrrr~.rr= Mr--».~e»fr--=-- - ' ‘ ' ' " f n coun:_E§'rt'eeuyeryneeirieredneuve¢y U Slgnarue summation
.'1213 1030 DBUL '?i-ll=le~=ir"‘.“=i?. S}NMBMWW DS'BMN'°_?"FW
§ PS Forml§811, July 2015 PsN 7530-02-000-9053 mr er$g_ ' Derrreetin Returrr nenel`ii
" ""B.i'='. _1 ' ` '

\` SENDER: coMPLETE TH/s sEcT/ON

l Gomplete items1,`2, and 3.

l Print your name and address on the reverse
so that we can return the card to you.

l Attach this card to the back of the mallplece,
or on the front if space pennits.

A. xSignature
by /E/ umw
lU M

L'.l Address'¢
B. neeerved by@,iired Neme)

 

a. hereof nerve

 

 

1. Article Addressed to:

amax i:\\ncm Q,'\o.\ gardens
Yc`, elle mst 'W“‘
545001,0@\}\1 Cai\t ”\’woeé

D. ls delivery address different .fmm item 17 [] ‘(_es

 

 

 

 

 

en emma :rr nbc re
|||l||ll||l||l||||||l|l|lil||||||||l|lll||||l

9590 9402 1768 6074 6975 82

thES, enter delivery address l:t)elow E| Nd
3. Ser_vlce1ype _nPrremyMenerpreee®
l:\ unregisterme
l:lAdurtslgnmlrreeResvtctedDem/ery remedmalmee\rlr
E°a;'lruned°nmauneezrrnednenverv DH¢mM=eror

 

n cenectnrr moenyery! neetrrned oeuvery El SMlghawre 00me

 

 

 

 

 

n .A_u_l _ \l_. ...l.....l'l' l'l'__-¢.&`»'&mm't'¢_ lak»ll
` USi l’\B'Ku 00 fl site
7n:r.3 1033 until times l=1337 grm'““%iemeervm egreer "rvr§`y '
: PS Fom-r 381 1 , July 2015 PsN 1530-02-000-9053_l Demeetre nerurn neceq
l
l Complete items1. 2, and 3. A- §ienature
l Print your name and address on the reverse x j M 1a D~AS€“F
so that we can return the card to you. "‘"7 _ n Add_W
B. neee_rved by-Mred/veme) c. Dare of oenver

l Attach this card to the back of'the mailpiece,
or on the front if space pennits.

 

 

1. ArllcleAddremdto'
brewer \:ir\rrnryi di SUFr/`cr?§ inc
dib\ot D'rs®ve£» %orn\‘)
@’€éoi> l,r»ll\t L‘.rr\iw

…vex mds,:\. WD\S

D. ls delivery address different from wm 1? El Yes
lfYES. enter delivery address below: |] No

 

 

 

_|||ll|l|| |||| |l||||||| |I|l|| ||||| l |l||i|ll|l||

9590 9402 1768 6074 6975_99

3- S°.'"'°e TVPS 13 Prlqrrty Men Expm®

l:rAdurrsrgnaurre nn iranm

El Adl|lf Slgl'l&tll:?m® fe HB$MM DBHV€W U D rede Re§‘il‘|€
Marmined gaeium for

q Oélilfled peilve_ry knew

 

_¢_.¢.,n _

 

_D I\»¢' »\|.` Alu_~l__.. m_....¢_..z.___~.....c- -

?.El]r3 ]rD'__=lB UDDL _?'-ll=rle 3310
§ PS Form 381 'l, .July 2015 PsN 7530-02-000-9053

corceeierr oenvery
nanireezerioerrveryneerrieredeenvery USlenmeOommauon
3irreuredmeuneemced clng

nemeeue nerurrr aenelr

